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                            Case No. 23-1135

      IN THE UNITED STATES COURT OF APPEALS FOR
                  THE TENTH CIRCUIT
                     ____________________________

                            DARLENE GRIFFITH,

                                           Plaintiff-Appellant,

                                    v.

                  EL PASO COUNTY, COLORADO, ET AL.,

                                            Defendants-Appellees.
                     ____________________________

      On Appeal from the United States District Court for the
       District of Colorado, Case No. 21-cv-00387-CMA-NRN
                     ____________________________

                    BRIEF AMICI CURIAE
            LEGAL SCHOLARS OF SEX AND GENDER
            IN SUPPORT OF PLAINTIFF-APPELLANT


KYLE C. VELTE                               EZRA ISHMAEL YOUNG
UNIVERSITY OF KANSAS SCHOOL OF LAW          LAW OFFICE OF EZRA YOUNG
1535 West 15th Street                       210 North Sunset Drive
Lawrence, Kansas 66045                      Ithaca, New York 14850
kvelte@ku.edu                               ezra@ezrayoung.com


                                                  Counsel for Amici Curiae
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              CORPORATE DISCLOSURE STATEMENT

     In accordance with Federal Rules of Appellate Procedure 26.1 and

29(a)(4)(A), counsel for amici curiae certify that none has a parent

corporation or issues stock because they are real persons filing this brief

in their personal capacities.


August 28, 2023

                                                /s/ Ezra Young___________
                                                EZRA ISHMAEL YOUNG
                                                LAW OFFICE OF EZRA YOUNG

                                                Counsel for Amici Curiae




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                     INTEREST OF AMICI CURIAE*

      Amici curiae are legal scholars of sex and gender. They offer

expertise in their personal capacities to assist this Circuit in assessing

whether the El Paso County Sheriff officials violated Ms. Griffith’s

Fourteenth Amendment right to equal protection.

      Amici contributing to this brief are as follows:

      Kyle Courtenay Velte is Associate Dean for Faculty and Professor

of Law at the University of Kansas School of Law. Velte’s scholarship

examines the intersection of sexuality, gender, and the law with a focus

on LGBTQ antidiscrimination law. She clerked for Justice Alex Martinez

of the Colorado Supreme Court and for the Honorable Roxanne Bailin of

the 20th Judicial District in Boulder, Colorado.

      Ezra Ishmael Young is a legal scholar and impact litigator. His

expertise lies in constitutional law and transgender rights. Young has

held academic appointments at both Columbia Law School and Cornell

Law School, previously served as the director of impact litigation at the



       * Pursuant to Federal Rule of Appellate Procedure 29(a)(2), all parties,
through counsel, have consented to the filing of this brief. Pursuant to Rule
29(a)(4)(E), Amici state that no party’s counsel authored any portion of this
brief and no party, party counsel, or person other than Amici or their counsel
contributed money to fund the preparation or submission of this brief.

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Transgender Legal Defense and Education Fund, and a founding board

member and past co-chair of the National Transgender Bar Association.

Among other pathbreaking cases, Young served as trial and appellate

counsel in Tudor v. Southeastern Oklahoma State University, which

clarified that "transgender discrimination is discrimination because of

sex.” 13 F.4th 1019, 1028 (10th Cir. 2021) (cleaned up).

     Jeremiah Ho is Associate Professor of Law at Saint Louis

University School of Law. Ho’s scholarship and research focuses on topics

relating to law and inequality, with particular respect to sexuality,

gender, and race.

     M. Dru Levasseur is Director of Diversity, Equity, and Inclusion for

the National LGBTQ+ Bar Association and a recognized leader in the

LGBTQ+ equality movement for more than 25 years. He is a scholar of

sex and gender and has served as merits and amici counsel in landmark

transgender impact cases in federal courts, including the U.S. Supreme

Court.

     Nancy C. Marcus is an Associate Professor of Law at California

Western School of Law, where she teaches a course on Sexuality, Gender

Identity and the Law and has produced substantial scholarship over the



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years on sexuality and gender issues. She has been a leader in the

LGBTQ+ rights movement for two decades, for example, being a co-

founder of the national BiLaw organization, and serving as the Chair of

the American Bar Association Civil Rights Litigation Section LGBT

Rights Subcommittee. She has clerked for Justice Louis Butler on the

Wisconsin Supreme Court and Judge Paul Higginbotham on the

Wisconsin Court of Appeals.

     Dara E. Purvis is Associate Dean for Research and Partnerships

and Professor of Law at Penn State Law. Professor Purvis’s scholarship

identifies gendered impacts of the law, particularly the rights of

transgender children. She clerked for she clerked for the Honorable

Gerard E. Lynch of the Second Circuit and the Honorable Raymond C.

Fisher of the Ninth Circuit.

     Eliot T. Tracz is a faculty fellow at New England School of Law

where he teaches courses in sexual orientation and gender identity and

the law. His scholarship explores the relationship between sexual

orientation, gender identity, and constitutional law, as well as the

intersection of bisexuality and the law. He clerked for the Honorable

Kathy Wallace of the Minnesota Third Judicial District.



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     Ann E. Tweedy is Professor of Law at the University of South

Dakota Knudson School of Law. Her scholarship focuses on sexuality and

the law as well as on federal Indian law and Tribal law. She clerked for

the Honorable Ronald M. Gould of the Ninth Circuit and the Honorable

Rex Armstrong of the Oregon Court of Appeals. Professor Tweedy joins

this brief in her personal capacity and clarifies that the views expressed

herein not indicative of those held by the South Dakota Board of Regents.

                       SUMMARY OF ARGUMENT

     Our great national charter opens with these three words: “We the

People.” U.S. CONST. preamble. After great turbulence and bloodshed, we

the people clarified via the Fourteenth Amendment that every American

enjoys equal protection of the law. U.S. CONST. amend. XIV, § 1. It is this

Circuit’s solemn duty to safeguard that right from derogation. Skepticism

is warranted where, as in this case, government officials insist some

Americans are less equal than others.

     Constitutional challenges to gender classifications are without

exception subject to intermediate scrutiny. The fact that Ms. Griffith is a

transgender woman neither diminishes nor qualifies her right to equal

protection. Sex discrimination experienced by transgender people is sex



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discrimination. That interpretation is sensible and aligns with the

original intent of the ratifying generation who were especially attentive

to the needs of transgender women to be protected from abuses of local

police.

        This Circuit’s opinion in Brown v. Zavaros, 63 F.3d 967 (10th Cir.

1995), was wrong when decided. Transgender persons’ right to equal

protection is not conditioned on separately establishing themselves as

members of a suspect class.

        Amici also draw this Circuit’s attention to a robust body of medical

and scientific research substantiating that a transgender woman is a

woman full-stop. Because transgender persons’ innermost sense of

gender is biologically rooted, they additionally qualify as a suspect class

meriting heightened scrutiny. However, this Circuit need not decide that

issue because it would simply duplicate the protection transgender

people are already due.

                                ARGUMENT

   I.     GENDER   CLASSIFICATIONS                 ARE       SUBJECT            TO
          INTERMEDIATE SCRUTINY.

        The Equal Protection Clause of the Fourteenth Amendment

provides that no state shall “deny any person within its jurisdiction the


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equal protection of the laws.” U.S. Const. amend. XIV, § 1. The level of

judicial scrutiny applied turns on the kind of classification made by the

government. The available options are strict, intermediate, and rational

basis review.

     “Today,    heightened      scrutiny    attends   to    all   gender-based

classifications.” Free the Nipple-Fort Collins v. City of Fort Collins,

Colo., 916 F.3d 792, 800 (10th Cir. 2019) (citing Sessions v. Morales-

Santana, 582 U.S. 47, 57 (2017)) (cleaned up). The burden lies entirely

on the government, which must demonstrate that the challenged

classification serves important government objectives and the means

employed are substantially related to the achievement of those

objectives. United States v. Virginia, 518 U.S. 515, 533 (1996).

     Intermediate scrutiny of gender classifications is necessary in light

of our nation’s “long and unfortunate history of sex discrimination.”

Frontiero v. Richardson, 411 U.S. 677, 684 (1973). Gender classifications

are not neutral. Without exception, gender classifications pose “real

danger that government policies that professedly are based on reasonable

considerations in fact may be reflective of archaic and overbroad




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generalizations about gender or based on outdated misconceptions.”

J.E.B. v. Alabama ex rel. T.B., 511 U.S. 127, 135 (1994) (cleaned up).

        All gender classifications are subject to intermediate scrutiny

irrespective of the gender of the challenger. See, e.g., Mississippi Univ.

for Women v. Hogan, 485 U.S. 718, 723 (1982). This is so because equal

protection does not permit governments to make classifications premised

on stereotyped understandings of what it means to be a woman or man.

See generally Hogan, 458 U.S. 718; Orr v. Orr, 440 U.S. 268 (1979);

Weinberger v. Weinberger, 420 U.S. 636 (1975).

  II.     THERE IS NO TRANSGENDER EXCEPTION TO EQUAL
          PROTECTION.

        There is no legitimate reason to construe transgender people as

being beyond equal protection’s normal reach. Doing so defies the

Constitution’s text and conflicts with the original meaning of the

Fourteenth Amendment.

        The Fourteenth Amendment does not expressly except transgender

people. Nor does it specially condition their right to equal protection.

Reading in such a rule contravenes the judicial power. Cf. Gamble v.

United States, 139 S. Ct. 1960 (2019) (Thomas, J. concurring) (“The

judicial power must be understood in light of the Constitution’s status as


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the supreme legal document over other sources of law. . . . Put differently,

because the Constitution is supreme over other sources of law, it requires

us to privilege its text over our own precedents when the two are in

conflict.”).

      The Supreme Court’s recent opinion in Bostock v. Clayton County,

140 S. Ct. 1731 (2020) (Gorsuch, J.) well illustrates this point. At issue in

Bostock was whether Title VII’s proscription of discrimination “because

of . . . sex” protects transgender people. While Bostock is a statutory case,

its sound logic applies with equal force here.

      In Bostock the employer contended Ms. Aimee Stephens was

unprotected because she is a transgender woman. While the employer

admitted nontransgender women are protected by Title VII, it insisted

that affixing a transgender label on Ms. Stephens transformed her claim

into something other than sex discrimination. Observing that there was

no textual exception to transgender coverage, the Supreme Court refused

to judicially rewrite the law. See 140 S. Ct. 1737 (“When the express

terms of a statute give us one answer and extratextual considerations

give us another, it’s no contest. Only the written word is the law, and all

persons are entitled to its benefit.”).



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     The original meaning of the Fourteenth Amendment also strongly

weighs against depriving transgender people of the full promise of equal

protection. See generally Ezra Ishmael Young, Transgender Originalism,

https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3967605              (2022)

(arguing transgender rights are supported by originalism).

     The Fourteenth Amendment was ratified in the early stages of

Reconstruction. It was necessary because without it, our Constitution

provided no recourse for state government violations of individual rights.

But demonstrating how our Constitution fell short, let alone convincing

Americans to push for constitutional amendment proved difficult.

     As it turns out, an indomitable transgender woman, Ms. Frances

Thompson, played a critical role in making the case for the Fourteenth

Amendment. In May 1866, a white supremacist mob led by the local

sheriff and Tennessee Attorney General William Wallace, rampaged

through Memphis’ Black neighborhood in what would later be called the

Memphis Massacre of 1866. After three days of violence, federal troops

were able to restore order. But not before the mob succeeded in virtually

destroying Memphis’ only Black neighborhood. Ninety-one homes along

with all four churches and all eight schools were burned to the ground.



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The human toll was even more horrendous. Forty-six Black people were

murdered, seventy-five were injured, more than one hundred were

robbed, and five women including Ms. Thompson were raped. See

generally Hon. Bernice Bouie Donald, When the Rule of Law Breaks

Down: Implications of the 1866 Memphis Massacre for the Passage of the

Fourteenth Amendment, 98 B.U. L. Rev. 1607 (2018).

     Just a few months after the Memphis Massacre, amidst debates

about the newly proposed Fourteenth Amendment, Congress convened

hearings in aid of an investigation of the cause and toll of the rampage.

Ms. Thompson and the four other women raped during the rampage were

the only witnesses to testify before Congress. They testified because,

under existing law, they had no federal recourse and, for obvious reasons,

local fora were inhospitable. It was their sincerest hope that sharing their

pain would move the nation to amend the Constitution so that individual

rights were enforceable against the states. See generally DANIA RAMEY

BERRY & KALI NICOLE GROSS, Frances’s Sex and the Dawning of the Black

Women’s Era, 1876–1915, in A BLACK WOMEN’S HISTORY OF THE UNITED

STATES 104 (2020).




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     Ms. Thompson’s testimony in particular demonstrated in painful

and heart-wrenching detail precisely why a constitutional amendment

securing equal protection was necessary. H.R. Rep. No. 39–101 at 196–

97 (1866) (Thompson’s testimony). See also GARRETT EPPS, DEMOCRACY

REBORN: THE FOURTEENTH AMENDMENT AND THE FIGHT FOR EQUAL

RIGHTS IN POST-CIVIL WAR AMERICA 223–39 (2006) (observing the

Memphis Massacre’s role in rallying support for the Fourteenth

Amendment); Danielle L. McGuire, “It Was Like All of Us Had Been

Raped”: Sexual Violence, Community Mobilization, and the African

American Freedom Struggle, 91 AM. HIST. 906, 908–09 (2004)

(contextualizing Ms. Thompson’s sexual assault and testimony within

the Black women’s freedom struggle during Reconstruction).

     Frances Thompson’s story has an additional lesson to teach this

Circuit. The insistence that a transgender woman is not a woman is more

than offensive. It is the very device that anti-Reconstruction southerners

employed to undermine the legitimacy of the Fourteenth Amendment.

     After ratification, Ms. Thompson was ruthlessly hounded by local

police for daring to bear witness to the cruelties she endured. DANIA

RAMEY BERRY & KALI NICOLE GROSS, Frances’s Sex and the Dawning of



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the Black Women’s Era, 1876–1915, in A BLACK WOMEN’S HISTORY OF THE

UNITED STATES 104, 105 (2020). Among other indignities, Ms. Thompson

was charged with cross-dressing. Anti-Reconstruction newspapers

caught wind of Ms. Thompson’s persecution. Seizing on antitransgender

sentiments of the day, they ran stories accusing Ms. Thompson of lying

about being a woman, on that pretense proclaimed she lied about being

raped to Congress, and on that basis suggested the Fourteenth

Amendment was illegitimate. See, e.g., Under False Colors, PULASKI

CITIZEN, July 20, 1876; HANNAH ROSEN, TERROR IN THE HEART OF

FREEDOM 235–41 (2009).

     In light of Ms. Thompson’s critical role in galvanizing our nation to

ratify the Fourteenth Amendment, it strains credulity to construe equal

protection to not fully and equitably embrace transgender persons.

Indeed, it would be cruelly ironic for this Circuit to deprive Ms. Griffith

of the full promise of equal protection. Ms. Griffith stands today in Ms.

Thompson’s shoes, asking that she be protected from sexual violence and

harassment that local government officials allowed to be perpetrated by

their own hands and under their watch. Because of Ms. Thompson’s




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tenacity and courage, Ms. Griffith can do what Ms. Thompson was

denied—beseech a federal court to do justice by her.

  III.   TRANSGENDER PERSONS NEED NOT SEPARATELY
         ESTABLISH THEY ARE A SUSPECT CLASS.

     Brown v. Zavaras, 63 F.3d 967 (10th Cir. 1995) is stale-dated and

irreconcilable with binding precedent. This Circuit should not hesitate to

clarify that all gender classifications are subject to intermediate scrutiny,

irrespective of the transgender status of the challenger.

     Brown involved a pro se challenge of gender classifications made by

a Colorado prison. Ms. Josephine Brown argued that the prison’s decision

to withhold from her medical care and feminine personal items which

they provided to nontransgender women violated equal protection.

Rather than follow binding precedent which requires intermediate

scrutiny of all gender classifications, this Circuit erroneously applied

rational basis review. This was done on the pretense that transgender

people must separately establish themselves as a suspect class. 63 F.3d

at 970–71.

     Brown was wrong when decided. All gender classifications are

subject to intermediate scrutiny. See, e.g., J.E.B., 511 U.S. at 135. This

was established long before Brown, and thus this Circuit had no power


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subject transgender person’s challenges of gender classifications to

rational basis review. Cf. Gamble, 139 S. Ct. at 1985 (Thomas, J.,

concurring) (“there is no legitimate reason a court may privilege a

demonstrably erroneous interpretation of the Constitution over the

Constitution itself”).

      Brown can be cast aside because the prior panel fundamentally

misapprehended the judicial task at hand. Whether transgender persons

may additionally qualify as a suspect class is irrelevant and makes no

meaningful difference in the analysis. Both sex discrimination and

transgender status discrimination would be subject to the same

heightened scrutiny. See, e.g., Grimm v. Gloucester County School Board,

972 F.3d 586, 613 (4th Cir. 2020) (“Whether because the policy

constitutes sex-based discrimination or because transgender persons are

a quasi-suspect class, we apply heightened scrutiny.”).

      This Panel may also deem Brown bad law because its logic is

invalidated by Bostock. It is true that Brown is an equal protection case

and Bostock is a Title VII case. However, an intervening opinion of the

Supreme Court need not be “on all fours” with a prior Circuit precedent

to require reexamination. United States v. Brooks, 751 F.3d 1204, 1209–



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10 (10th Cir. 2014). The inquiry is instead “whether the subsequent

Supreme Court decision contradicts or invalidates this Circuit’s prior

analysis.” Id.

     Bostock settles once and for all that discrimination against a

transgender person for being transgender is sex discrimination. 140 S.

Ct. at 1741 (“It is impossible to discriminate against a person for being

transgender without discriminating against that individual based on

sex.”) (cleaned up). Because there is no way to square Brown’s logic with

Bostock’s, this panel is empowered to recognize Brown is obliterated by

intervening Supreme Court precedent.

  IV.     HOWEVER,   THIS CIRCUIT MAY   SEPARATELY
          RECOGNIZE THAT TRANSGENDER PEOPLE ARE A
          SUSPECT CLASS.

     In Brown, this Circuit observes that if presented with evidence that

transgender persons’ gender is biologically rooted, suspect class status is

warranted. 63 F.3d at 971. Amici do not believe it necessary to establish

transgender persons are doubly protected under equal protection. But for

sake of completeness, Amici apprise this Circuit that there is sufficient

evidence establishing the biological rootedness of transgender people’s

gender.



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     A growing body of evidence point to a biologic underpinning of

gender identity programmed from birth. Joshua Safer et al., Care of

Transgender Persons, 381 NEW ENG. J. MED. 2451, 2451 (2019). One’s

internal sense of gender as being male, female, or other, is deeply held,

intrinsic, and biologically based. Aruna Saraswat et al., Evidence

Supporting the Biologic Nature of Gender Identity, 21 ENDOCR. PRACT.

199 (2015).

     Evidence includes endocrine variation, developmental differences

in utero, brain structure and development, and genetic variation. See,

e.g., Rosa Fernández et al., The (CA)n Polymorphism of ERB Gene is

Associated with FtM Transsexualism, 11 J. SEXUAL MED. 720 (2014); Ai-

Min Bao et al., Sexual Differentiation of the Human Brain: Relation to

Gender Identity, Sexual Orientation, and Neuropsychic Disorders, 32

FRONTIERS NEUROENDOCRINOLOGY 214 (2011); Giancarlo Spizzirri et al.,

Grey and White Matter Volumes Either in Treatment-Naïve or Hormone-

Treated Transgender Women: A Voxel-Based Morphometry Study, 8 SCI.

REPS. 736 (2018); Lauren Hare, Androgen Receptor Repeat Length in

Polymorphism Associated with Male-to-Female Transsexualism, 65

BIOLOGICAL PSYCH. 93 (2009); J.N. Zou et al., A Sex Difference in the



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Human Brain and its Relation to Transsexuality, 378 NATURE 68 (1995);

F.P. Kruijver et al., Male-to-Female Transsexuals have Female Neuron

Numbers in a Limbic Nucleus, 85 J. CLIN. ENDOCR. METAB. 2034 (2000).

  V.      THIS  CIRCUIT  SHOULD   NOT   CONFLATE  THE
          BIOLOGICAL ROOTEDNESS OF GENDER WITH RECENT
          CALLS TO REDEFINE GENDER IN PSEUDOSCIENTIFIC
          TERMS.

       Our nation is amidst an unprecedented onslaught of legislation

targeting transgender Americans. See, e.g., Alex Burness, Why Families

Facing Anti-Transgender Persecution are Moving to Colorado, DENVER

POST,                     Mar.                    14,                     2023,

https://www.denverpost.com/2022/03/14/transgender-flee-texas-idaho-

child-abuse-law-to-colorado/. Most of these laws impose unequal

treatment on the pretext that there are neutral, objective reasons to

exclude transgender persons from participating in public life. The

animus behind them can, at times, be difficult to identify because they

appear to turn on natural facts, giving them the patina of neutrality and

objectivity. Katrina Karkazis, The Misuses of “Biological Sex,” 394

LANCET 1898, 1899 (2019).

       It is imperative that this Circuit take a critical eye to classification

schemes which purport to define one’s gender in terms of “sex assigned


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at birth” or “biological sex.” Science does not drive these policies, the

desire to exclude does. Karkazis, Misuses of “Biological Sex” at 1899;

Jessica A. Clarke, Sex Assigned at Birth, 122 COLUM. L. REV. 1821, 1859

(2022).

     “Sex assigned at birth” schemes fix gender based on the

classification made at birth. In most versions, the gender marker on one’s

first issued birth certificate (irrespective of whether it was ever amended)

is deemed to forever fix one’s gender. This is despite birth certificates not

being intended to be used in this manner. Dean Spade, Documenting

Gender, 59 HASTINGS L.J. 731, 764 (2008). As this Circuit observed

recently, sex assigned at birth regimes force the misclassification of

persons who are incontrovertibly members of gender different than that

recorded at birth. Zzyym v. Pompeo, 958 F.3d 1014, 1029 (10th Cir. 2020)

(observing this problem in the context of an intersex person’s challenge

to passport rule premised on “sex assigned at birth”).

     “Biological sex” schemes are deceptively named. They perniciously

define one’s gender tautologically to deny transgender persons legal

recognition of their gender and attach the “biological” label without any

basis in medicine or science. This is achieved by defining “biological sex”



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such that the only legally pertinent indicia of gender point in one

direction—transgender persons are always considered to be a gender

different that that with which they identify. See, e.g., Adams by and

through Kasper v. School Board of St. Johns County, 57 F.4th 791, 807–

08 (11th Cir. 2022) (declaring gender identity to be irrelevant to

“biological sex,” defining “biological sex” in terms of “sex determined at

birth,” proffering both that “biological sex is determined solely by the

accident of birth” and it is impossible “to change an individual’s

immutable characteristic of biological sex,” and concluding a transgender

boy legally recognized by the state of Florida as male is a “biological girl”).

      Amici respectfully remind this Circuit that pseudoscientific appeals

to biology have a sordid history in our nation. “Biological arguments have

been used to justify many types of discrimination, from slavery to

coverture, to the forced sterilization of people with disabilities.” Shannon

Price Minter, “Déjà vu All Over Again”: The Recourse to Biology by

Opponents of Transgender Equality, 95 N.C. LAW REV. 1161, 1162 (2017).

      If medicine and science play any role in how the law defines gender

at all, pseudo-science should not be countenanced. For that reason, a

growing chorus of scholars now urge that if legal sex is to be defined in



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scientific and medical terms, transgender persons’ gender is most

accurately defined by that with which they identify since identity is

biologically rooted. See, e.g., Denise Grady, Anatomy Does Not Define

Gender,          NY           TIMES,           Oct.          22,          2018,

https://www.nytimes.com/2018/10/22/health/transgender-trump-

biology.html; Kyle C. Velte, Mitigating the “LGBT Disconnect”: Title IX’s

Protection of Transgender Students, Birth Certificate Correction

Statutes, and the Transformative Potential of Connecting the Two, 27

AM. U. J. GENDER SOC. POL’Y & L. 29 (2019); Blaise Vanderhorst, Whither

Lies the Self: Intersex and Transgender Individuals and a Proposal for

Brain-Based Legal Sex, 9 HARV. L. & POL’Y REV. 241 (2015); M. Dru

Levasseur, Gender Identity Defines Sex: Updating the Law to Reflect

Modern Medical Science is Key to Transgender Rights, 39 VT. L. REV. 943

(2015).

                               CONCLUSION

     For all of the foregoing reasons, Amici respectfully ask that this

Circuit reverse and remand this case to the District of Colorado with the

clarification that all constitutional challenges to gender classifications

are afforded intermediate scrutiny.



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Respectfully submitted this 28th day of August 2023.


                                            /s/ Kyle C. Velte
                                            UNIVERSITY OF KANSAS
                                            SCHOOL OF LAW
                                            1535 West 15th Street
                                            Lawrence, Kansas 66045
                                            kvelte@ku.edu

                                            /s/ Ezra Young___________
                                            EZRA ISHMAEL YOUNG
                                            LAW OFFICE OF EZRA YOUNG
                                            210 North Sunset Drive
                                            Ithaca, New York 14850

                                            Counsel for Amici Curiae




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        This brief complies with the type-volume limitation of Federal

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August 28, 2023
                                               /s/ Ezra Young___________
                                               EZRA ISHMAEL YOUNG
                                               LAW OFFICE OF EZRA YOUNG

                                               Counsel for Amici Curiae




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                      CERTIFICATE OF SERVICE

     I certify that on August 28, 2023, I electronically filed the foregoing

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                                            /s/ Ezra Young___________
                                            Ezra Ishmael Young
                                            LAW OFFICE OF EZRA YOUNG

                                            Counsel for Amici Curiae




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